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                                 CERTIFICATION OF PROPOSED LEAD PLAINTIFF

                             Jon Barrett
                         I, ________________________ (“Plaintiff”), declare, as to the claims asserted

                 under the federal securities laws, that:


                 1.      Plaintiff has reviewed a draft of the complaint and has authorized the filing of a
                         complaint substantially similar to the one reviewed.

                 2.      Plaintiff selects Monteverde & Associates PC and any firm with which it affiliates
                         for the purpose of prosecuting this action as my counsel for purposes of
                         prosecuting my claim against defendants.

                 3.      Plaintiff did not purchase the security that is the subject of the complaint at the
                         direction of Plaintiff’s counsel or in order to participate in any private action
                         arising under the federal securities laws.

                 4.      Plaintiff is willing to serve as a representative party on behalf of a class, including
                         providing testimony at deposition and trial, if necessary.

                 5.      Plaintiff sets forth in the attached chart all the transactions in the security that is
                         the subject of the complaint during the class period specified in the complaint.

                 6.      In the past three years, Plaintiff has not sought to serve nor has served as a
                         representative party on behalf of a class in an action filed under the federal
                         securities laws, unless otherwise specified below.

                 7.      Plaintiff will not accept any payment for serving as a representative party on
                         behalf of a class beyond Plaintiff’s pro rata share of any recovery, except such
                         reasonable costs and expenses (including lost wages) directly relating to the
                         representation of the Class as ordered or approved by the Court.

                         I declare under penalty of perjury under the laws of the United States that the
                         foregoing information is correct to the best of my knowledge.


                         Signed this ____
                                     1st day of _________________,
                                                 August            2018.


                                                                _____________________________
                                                                            Signature
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                      Company                     Transaction            Trade Date   Quantity
                                                    (Purchase or Sale)
                     Name/Ticker
                          EVHC                      Purchase             11/10/2016      733
